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20                         UNITED STATES DISTRICT COURT FOR
21
                         THE CENTRAL DISTRICT OF CALIFORNIA
22
23
24    Z GOLF FOOD & BEVERAGE                     Case No.: 5:20-cv-01224
      SERVICES, LLC d/b/a Wedgewood
25                                               COMPLAINT FOR
      Weddings, a California limited liability   DECLARATORY AND
26    company; GRAND TRADITION d/b/a             INJUNCTIVE RELIEF
      GRAND TRADITION
27
      RESTAURANT AND WEDDINGS, a
28    California corporation; and AARON
                                                 1
      Complaint                                                              Case No.
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1     TEXEIRA d/b/a A PERFECT
      IMPRESSION PHOTOGRAPHY,
2     DJ, AND VIDEO,
3               Plaintiffs,
4               v.
5     GAVIN NEWSOM, in his official
      capacity as the Governor of California;
6     XAVIER BECERRA, in his official
7     capacity as the Attorney General of
      California; SONIA Y. ANGELL, in
8
      her official capacity as the State Public
9     Health Officer and Department of
10    Public Health Director,
11                 Defendants.
12
13
14    Marriage is one of the ‘basic civil rights of man,’ fundamental to our very existence and
15                       survival. Loving v. Virginia, 388 U.S. 1, 12 (1967).
16
17
18          NOW COME the above-named Plaintiffs Z Golf Food & Beverage Services,
19    LLC d/b/a/ as Wedgewood Weddings (“Wedgewood Weddings”), a California limited
20    liability company, Grand Tradition d/b/a “Grand Tradition Restaurant and Weddings,” a
21    California corporation, and Aaron Texeira d/b/a A Perfect Impression DJ, Photography,
22    and Video (“A Perfect Impression”), by and through their attorneys, Dhillon Law
23    Group, Inc., as and for claims against the above-named Defendants Gavin Newsom, in
24    his official capacity as the Governor of California; Xavier Becerra, in his official
25    capacity as the Attorney General of California; Sonia Y. Angell, in her official capacity
26    as the State Public Health Officer and Department of Public Health Director, allege and
27    show the Court as follows (this “Complaint”).
28
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1                                      NATURE OF ACTION
2          1.      Defendants have abused their power by using the Coronavirus pandemic to
3     expand their authority by unprecedented lengths, depriving Plaintiffs and all other
4     residents of California of fundamental rights protected by the U.S. Constitution,
5     particularly with respect to the Equal Protection Clause of the Fourteenth Amendment,
6     and (2) the Due Process Clause of the Fifth and Fourteenth Amendments It is this
7     Court’s duty to defend these constitutional principles, by safeguarding the many rights
8     and liberties of Californians that Defendants have violated and continue to violate.
9          2.      This Action presents facial and as-applied challenges to the Governor of
10    California’s May 4, 2020 Executive Order N-60-20 (“State Order”) which incorporated
11    the May 7, 2020 State Public Health Order. Both Orders are attached, respectively, as
12    Exhibits 1 and 2.
13         3.      The State Order and Defendants’ enforcement thereof infringe upon (1) the
14    Equal Protection Clause of the Fourteenth Amendment, and (2) the Due Process Clause
15    of the Fifth and Fourteenth Amendments.
16                                JURISDICTION AND VENUE
17         4.      This action arises under 42 U.S.C. § 1983 in relation to Defendants’
18    deprivation of Plaintiffs’ constitutional rights under (1) the Equal Protection clause of
19    the Fourteenth Amendment, and (2) the Due Process Clause of the Fifth and Fourteenth
20    Amendments. Accordingly, this Court has federal question jurisdiction under 28 U.S.C.
21    §§ 1331 and 1343. This Court has authority to award the requested declaratory relief
22    under 28 U.S.C. § 2201; the requested injunctive relief and damages under 28 U.S.C. §
23    1343(a); and attorneys’ fees and costs under 42 U.S.C. § 1988.
24         5.      The Central District of California is the appropriate venue for this action
25    pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because it is the District in which
26    Defendants maintain offices, exercise their authority in their official capacities, and will
27    enforce the State Order; and it is the District in which substantially all of the events
28    giving rise to the claims occurred.
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1                                            PARTIES
2          6.      Plaintiff Wedgewood Weddings is a limited liability company incorporated
3     in California. Wedgewood Weddings has its beginnings in Ventura County, from where
4     it grew into twenty-eight locations across California and fifteen more branches across
5     the nation. Its venues in Ventura and Los Angeles County account for at least fifteen
6     percent of Wedgewood Weddings’ profits. It has two venues in Ventura County. It also
7     has three venues in Los Angeles County. It has a footprint of at least one venue
8     respectively in the Counties of Alameda, Contra Costa, El Dorado, Fresno, Marin,
9     Monterey, Orange, Placer, Riverside, Sacramento, San Bernardino, San Diego, Santa
10    Clara, and Solano.
11         7.      Plaintiff Grand Tradition is a corporation incorporated in California
12    operates wedding venues. It is located in San Diego County. It was founded by the
13    McDougal family in 1984. It owns Grand Tradition Estate & Gardens, a meticulously
14    landscaped, thirty-acre property that the McDougal family has cultivated for the last
15    twenty-five years. Its property is striking, boasting numerous gardens, waterfalls,
16    reception areas, ceremony sites, and even a heart-shaped lake. Many couples from
17    within and outside California created their most treasured moments here.
18         8.      Plaintiff Aaron Texeira d/b/a A Perfect Impression Photography, DJ and
19    Video, where he provides media services for weddings, i.e., photography, videography,
20    and providing music. He is based in Contra Costa county. His photography skills, and
21    his business are highly-regarded among brides and the wedding industry. For example,
22    A Perfect Impression has a perfect five-star rating with more than one hundred review
23    on Yelp!.1
24         9.      Defendant Gavin Newsom (“Newsom”) is made a party to this Action in
25    his official capacity as the Governor of California. The California Constitution vests the
26    “supreme executive power of the State” in the Governor, who “shall see that the law is
27    1
       Available as of June 15, 2020 at the URL: https://www.yelp.com/biz/a-perfect-
28    impression-danville.
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1     faithfully executed.” Cal. Const. Art. V, § 1. Governor Newsom signed Executive Order
2     N-33-20 (the “Executive Order”) on March 17, 2020. See, e.g., Ex Parte Young, 209
3     U.S. 123 (1908).
4          10.     Defendant Xavier Becerra (“Becerra”) is made a party to this Action in his
5     official capacity as the Attorney General of California. Under California law, Becerra is
6     the chief law enforcement officer with supervision over all sheriffs in the State. Cal.
7     Const. Art. V, § 13.
8          11.     Defendant Sonia Y. Angell, MD, MPH (“Dr. Angell”) is made a party to
9     this Action in her official capacity as the Director and State Public Health Officer. Dr.
10    Angell is sued herein in her official capacity to the extent that she is responsible for
11    providing official government guidance to the various industries that are allowed to
12    operate.
13                                  FACTUAL ALLEGATIONS
14                                Newsom Does Not Allow Or Provide
15                             Reopening Guidance for Wedding Venues
16         12.     On June 12, 2020, the Centers for Disease Control and Prevention
17    (“CDC”) provided federal guidelines for wedding venues.2
18         13.     Plaintiff Wedgewood Weddings is currently allowed to operate in all of its
19    wedding venue locations outside California.
20         14.     For example, New Hampshire allows wedding celebrations with some
21    limitations. (See New Hampshire’s Reopening Guidance for Weddings.)3
22
23
24
25    2
        Available as of the date of filing at https://www.cdc.gov/coronavirus/2019-
26    ncov/community/large-events/considerations-for-events-gatherings.html.
      3
27      Available as of the date of filing at
      https://www.covidguidance.nh.gov/sites/g/files/ehbemt381/files/inline-
28    documents/2020-06/guidance-weddings.pdf.
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1          15.        In Colorado, wedding celebrations are also allowed with some limitations.4
2          16.        Wedding chapels continue to operate in Nevada.5
3          17.        In Texas, wedding celebrations are also allowed with some limitations.6
4          18.        In Arizona, wedding celebrations are not outright banned, but have
5     limitations.7
6          19.        Wedgewood Weddings follows CDC guidelines for wedding venues at all
7     of its venues outside of California, including but not limited to:
8                        i. Dedicated exits and entrances;
9                       ii. Social distancing markers and measures for guests;
10                      iii. Extensive ventilation;
11                      iv. Providing hand-washing stations and hand sanitizer;
12                       v. Thorough disinfection of all spaces and surfaces after every event;
13                      vi. Monitoring staff for COVID symptoms; and
14                     vii. Requiring staff to wear masks at all times.
15         20.        In the process of providing guidance to similarly situated industries,
16    allowing them to reopen, Defendants have failed to provide any guidance for wedding
17    venues. This is especially egregious since industries such as dine-in restaurants are able
18    to start operating within days of being permitted to operate, while couples who decide
19    to get married often need months of lead time (if not more) before their special day.
20
21    4
        Available as of the date of filing at
22    https://www.thedenverchannel.com/news/coronavirus/wedding-planners-brides-say-
      they-cant-hold-a-wedding-at-a-venue-with-more-than-10-people.
23    5
        Available as of the date of filing at
24    https://www.usatoday.com/story/travel/news/2020/05/08/las-vegas-wedding-chapels-
      what-rules-reopening/3100631001/.
25    6
        Available as of the date of filing at https://www.kxan.com/news/local/hays/in-
26    dripping-springs-the-wedding-capitol-of-texas-is-coming-back-to-life-after-covid-19/.
      7
27      Available as of the date of filing at https://kvoa.com/coronavirus-
      coverage/2020/03/24/wedding-industry-feels-impact-of-covid-19-outbreak-local-venue-
28    speaks-out/.
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1          21.     In an attempt to facilitate their clients’ fundamental constitutional rights to
2     marry, Plaintiff Wedgewood Weddings has contacted the Public Health Officer in each
3     of the 15 California counties in which they operate.
4          22.     Plaintiff Wedgewood Weddings could not understand why a couple may
5     have a cultural ceremony at a place of worship but not at a wedding venue;8 why a
6     couple may go to a restaurant and have a meal with their friends but not enjoy a meal
7     with the same friends at a wedding venue;9 why a couple may join thousands of
8     strangers at in an indoor mall sharing the same bathrooms, escalators, and hand rails but
9     not celebrate their wedding day with a select group of family and close friends at a
10    wedding venue;10 why a couple may visit an outdoor museum but not host their
11    wedding at an outdoor wedding venue;11 or why children may go to a day camp with
12    hundreds of strangers but a couple are not allowed to have a wedding with their closest
13    friends and family members?12
14         23.     Plaintiff Wedgewood Weddings requested clarification from various
15    counties as to whether wedding venues could reopen, because such a venue seemed no
16    different from the permitted businesses of entertainment venues, dine-in restaurants,
17    outdoor businesses, and religious services. Most of the Counties did not answer. The
18    ones that did answered with outright denials or directions to state guidelines.
19         24.     Los Angeles County responded to Plaintiff Wedgewood Weddings’
20    request by stating that “Los Angeles has not reopened venues for gatherings.”
21
      8
22      Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-places-of-
      worship.pdf.
23    9
        Available as of the date of filing at https://covid19.ca.gov/pdf/checklist-dine-in-
24    restaurants.pdf.
      10
         Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-shopping-
25
      centers.pdf.
26    11
         Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-outdoor-
27    museums.pdf.
      12
         Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-
28    daycamps.pdf.
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1           25.        Placer County responded to Plaintiff Wedgewood Weddings’ request by
2     stating that “[u]nder the current statewide stay-at-home order, weddings are not allowed
3     at this time.”
4           26.        Riverside County responded to Plaintiff Wedgewood Weddings’ request
5     by stating that “[wedding] are not allowed at this stage ….”
6           27.        Plaintiffs are willing to follow the Federal CDC guidelines in order to
7     facilitate their clients’ due process and equal protection fundamental right to marry
8     without significant interference by the Defendants.
9           28.        The Defendants have provided guidance for many California industries,
10    including but not limited to: agriculture, day camps, hotels, warehousing facilities,
11    mining, film, places of worship, ports, public transit, retail, schools, shopping centers,
12    among many others.13
13          29.        Wedgewood Weddings has identical precautions in place for its California
14    locations.
15          30.        California only accounts for four percent (4%) of the nation’s COVID-19
16    deaths while containing twelve percent (12%) of the nation’s populace.14 Yet weddings
17    venues are allowed to operate in most of the United States but not in California because
18    the Defendants have refused to provide appropriate guidance for the wedding industry,
19    thus permitting the industry to exit the Governor’s Shelter in Place Order.
20
21    ///
22    ///
23
24
      13
        Available as of the date of filing at https://covid19.ca.gov/industry-guidance/#top.
25    14
        According to the CDC, California has 4,007 of the United States’ 98,695 COVID-19
26    deaths. Available as of the date of filing at
27    https://www.cdc.gov/nchs/nvss/vsrr/covid19/index.htm. According to the U.S. Census,
      California has 39,512,223 of the United States’ 328,239,523 people. Available as of
28    date of filing at https://www.census.gov/quickfacts/fact/table/CA,US/PST045219.
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1          Newsom Allows and Provides Reopening Guidances for Theaters, Dine-In
2                   Restaurants, Casinos, and Family Entertainment Centers
3          31.     On April 28, 2020, Newsom announced a four-stage plan to reopen
4     California businesses.15 He set no timetable, but only stated that data would guide his
5     reopening decisions.16
6          32.     Under his plan, the state set the standard for both timing and the type of
7     businesses allowed to reopen.
8          33.     On May 7, 2020, Newsom ordered that California enter Stage Two (“State
9     Order”), where not only “essential businesses,” but also “low risk businesses” were
10    allowed to open. (See May 4, 2020 Executive Order N-60-20; May 7, 2020 Health
11    Order.)
12         34.     On May 12, 2020, the California Department of Public Health (“CDPH”)
13    released guidance on dine-in restaurants. (See CDPH Dine-In Restaurant Guidance.)17 It
14    sets the maximum occupancy to how many people can fit “inside” while maintaining
15    social distancing.
16         35.     On June 12, 2020, the CDPH released guidance for places of worship and
17    religious gatherings. (See CDPH Places of Worship Guidance.)18 The guidance included
18    the mandate that all indoor religious services must be capped at one hundred (100)
19    people and not exceed twenty-five percent of the maximum total occupancy. Id., p. 3.
20
21
22
      15
         Available as of the date of filing at https://www.gov.ca.gov/2020/04/28/governor-
23    newsom-provides-update-on-californiaspandemic-resilience-roadmap/.
      16
24       See Governor’s May 7, 2020 Press Release at:
      https://www.gov.ca.gov/2020/05/07/governor-newsom-releases-updated-industry-
25
      guidance/.
26    17
         Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-dine-in-
27    restaurants.pdf.
      18
         Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-places-of-
28    worship.pdf.
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1         36.      The CDPH also released guidelines for casinos,19 family entertainment
2    centers, movie theatres,20 and gyms.21 Movie theatres are allowed up to one hundred
3    people as long as it does not exceed twenty five percent of maximum occupancy.
4    The COVID-19 Data Available Support a Showing that Wedding Venues are Safer
5                           Than Theaters, Casinos, and Restaurants
6         37.      Wedgewood Wedding’s and Grand Tradition’s California wedding venues
7    are actually less at risk for COVID-19 transmission because a vast majority of the
8    ceremonies are conducted outdoors.
9         38.      Public Health Departments acknowledge that outdoor businesses are safer
10   than indoor businesses. See e.g., San Mateo June 5, 2020 Health Order, Appendix C-1,
11   heading “(7) Outdoor Dining” (“Businesses that involve outdoor interactions carry a
12   lower risk of transmission than most indoor businesses”).
13        39.      Open air and sunlight (whether the mechanism of action is UV radiation or
14   thermal energy) reduce the likelihood of transmission; the open air seemingly dissipates
15   viruses to a negligible amount,22 while sunlight lessens the lifetime of an infectious,
16   viral particle.23
17        40.      A study, conducted by Chinese scientists on COVID-19 clusters in Wuhan,
18   showed that outdoor transmissions were few and rare.24
19        41.      A study on the physical-chemical structure of the SARS virus, a virus in
20   the same family of coronaviruses as COVID-19 virus, showed that prolonged exposure
21
     19
22      Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-casinos.pdf.
     20
        Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-family-
23   entertainment.pdf.
     21
24      Available as of the date of filing at https://covid19.ca.gov/pdf/guidance-fitness.pdf.
     22
        Available as of the date of filing at
25
     https://www.medrxiv.org/content/10.1101/2020.04.04.20053058v1.
26   23
        Available as of the date of filing at
27   https://www.sciencedirect.com/science/article/pii/S016609340400179X (similar
     coronavirus, the one that causes the SARS outbreak, is vulnerable to UV radiation).
28   24
        See, supra, n.22.
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1    to UV radiation resulted in the destruction of viral particles.25
2         42.     A Department of Homeland Security official revealed that the preliminary
3    results from a study showed that sunlight and high temperatures could destroy a
4    COVID-19 viral particle within minutes.26
5         43.     Unlike movie theatres or restaurants, which are both allowed under the
6    state reopening plan, wedding venues know the identities of every guest in advance.
7    Unlike a showing at a theatre or dinner rush at a restaurant, where people from various
8    social groups mingle at random, wedding venues restrict each event to one, identifiable
9    social group. These features of wedding celebrations make it easier for contact tracing,
10   receiving attestations that guests are free from COVID-19 symptoms, and ensuring
11   compliance with social distancing measures.
12        44.     A wedding venue is nothing more than a cultural ceremony and a dining
13   experience combined. There is no basis to treat it differently from other industries
14   which have received reopening guidance, as nothing about a wedding venue makes it
15   inherently more dangerous than other allowed businesses and activities. In fact, the
16   ability to better control and identify guests makes it easier for contact tracing and
17   guests’ compliance with CDC guidelines, making wedding venues safer than
18   restaurants, casinos, and movie theaters.
19          Newsom’s Original Shelter in Place Order Was Based on Implausible,
20                 Worst-Case Scenarios, Flawed Data, and a Flawed Model
21        45.     Governor Newsom’s rationale for Executive Order N-33-20, his original
22   shelter in place order was to “bend the curve.”27 He stated that “[i]n some parts of our
23   state, our case rate is doubling every four days,” and that “[t]he point of the stay at
24
     25
        See, supra, n.23.
25   26
        As of May 1, 2020, accessible at: https://www.reuters.com/article/us-health-
26   coronavirus-trump/sunlight-heat-and-humidity-weaken-coronavirus-u-s-official-says-
27   idUSKCN2253SA.
     27
        March 19, 2020 press briefing at 35:17-36:00, available as of the date of filing at
28   https://www.youtube.com/watch?v=8OeyeK8-S5o.
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1    home order is to make those numbers moot.”28 The Governor added that one goal was
2    to slowdown transmission enough to reduce the strain it might place on hospital
3    resources.29
4          46.      Governor Newsom cited a model showing that as of March 19, 2020, 56
5    percent of Californians, or more than 25 million people, could be infected over the next
6    eight weeks.30 Dr. Mark Ghaly, the governor’s Secretary of Health and Human
7    Services, explained at the March 19th press conference how the state came up with the
8    56 percent estimate. He stated “[u]sing the available literature, advice from the CDC
9    and our understanding and experience in California, we applied a variety of different
10   measures that looked at an attack rate [rate at which people could become infected]
11   ...."31
12         47.      The Secretary also stated that “[w]e knew that the attack rate of 56 percent
13   that we chose was somewhat in the middle between the high-end and the low-end of
14   what we’d seen in the literature …."32
15         48.      Contrastingly, several infectious disease experts, including Professor of
16   Epidemiology John P.A. Ioannidis of Stanford University, called this an extreme,
17   worst-case scenario that was unlikely to happen – and they turned out to be correct.33
18         49.      Upon information and belief, another piece of flawed data that drove
19   California’s and Santa Clara County’s original, onerous shelter-in-place orders was an
20   incorrect assumption that the R0 of COVID-19 was 5.7.
21
     28
22      Id.
     29
        Id. at 5:42-8:09.
23   30
        Id. at 5:00-6:00.
     31
24      Id. at 28:49-31:11.
     32
        Id.
25   33
        Newsom: 56 % of Californians Could Get Coronavirus If Nothing Is Done, San
26   Francisco Chronicle, March 19, 2020, available as of May 3, 2020 at:
27   https://webcache.googleusercontent.com/search?q=cache:sokxG9_b-
     2oJ:https://www.sfchronicle.com/health/article/Newsom-56-of-Californians-could-get-
28   coronavirus-15144438.php+&cd=1&hl=en&ct=clnk&gl=us.
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1         50.       The “R-naught” is the rate at which people can be infected, or more
2    precisely the rate of reproduction of the virus as measured by infected human hosts.34
3         51.       The current R0 for California is estimated to be at .98.35
4         52.       Upon information and belief, part of the data that the Governor depended
5    on for his claim—of 25 million infections in California within eight weeks—during his
6    March 19, 2020 announcement was the initial rate of infection in Wuhan, the
7    originating epicenter of COVID-19. Then and there, the numbers apparently showed a
8    R0 of 5.7.36
9         53.       However, now, the R0 of COVID-19 without mitigation efforts is
10   understood to be approximately 2.2-2.7.37 With mitigation efforts, the R0 of COVID-19
11   has been drive further down.
12        54.       More egregiously, the COVID-19 death rate projections model on which
13   Governor Newsom relied for implementing a state of emergency and mass quarantine
14   of healthy Californians, turned out to be grossly flawed.38
15        55.       Furthermore undermining the rationale of the Governor’s Order, the World
16   Health Organization and the European Center for Disease Control and Prevention
17   specifically advise against “internal travel restrictions,” because of limited efficacy and
18   enormous economic and social ramifications.39
19
     34
20      https://www.nytimes.com/2020/04/23/world/europe/coronavirus-R0-explainer.html.
     35
        Available as of the date of filing at https://rt.live.
21   36
        https://wwwnc.cdc.gov/eid/article/26/7/20-0282_article.
     37
22      Id.
     38
        Available as of the date of filing at https://www.statnews.com/2020/04/17/influential-
23   covid-19-model-uses-flawed-methods-shouldnt-guide-policies-critics-say/.
     39
24      “There is limited evidence for the effectiveness of internal travel restrictions, and it
     has legal, ethical and economic implications. Although 37% of national pandemic
25
     preparedness plans of Member States have travel restriction plans as a component of
26   NPIs (65), the acceptability is still undetermined.” World Health Organization,
27   Nonpharmaceutical public health measures for mitigating the risk and impact of
     epidemic and pandemic influenza, at p. 71, available as of the date of filing at
28   https://apps.who.int/iris/bitstream/handle/10665/329438/9789241516839-eng.pdf?ua=1;
                                                   13
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1         56.      This advice has proven correct in Sweden, which did not impose onerous
2    lockdowns on its citizens. This has led neither to a collapse of its hospital systems nor
3    its economy.40
4         57.      Governor Newsom’s inexplicable exclusion of wedding venues from
5    reopening is not based in scientific facts, and arbitrary especially in light of the fact that
6    California allows all the components of a wedding: dining, religious ceremonies, and
7    outdoor activities.
8                                             CLAIMS
9                                 FIRST CLAIM FOR RELIEF
10              VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE
11                               FOURTEENTH AMENDMENT
12                                As enforced by 42 U.S.C. § 1983
13                           (By All Plaintiffs against All Defendants)
14        58.      Plaintiffs incorporate herein by reference each and every allegation
15   contained in the preceding paragraphs of this Complaint as though fully set forth herein.
16        59.      The equal protection doctrine prohibits “governmental classifications that
17   affect some groups of citizens differently than others.” Engquist v. Or. Dep’t. of Agric.,
18   553 U.S. 591, 601 (2008) (citations omitted). The touchstone of this analysis is whether
19   a state creates disparity “between classes of individuals whose situations are arguably
20   indistinguishable.” Ross v. Moffitt, 417 U.S. 600, 609 (1974). It applies even when the
21   government treats a “class of one” differently. Willowbrook v. Olech, 528 U.S. 562, 563
22   (2000).
23        60.      While the rational basis test typically applies in this context, any law that
24
     see also European Centre for Disease Prevention and Control, Public Health Measures
25
     for Influenza Pandemics, p. 9, § 12 (“Internal travel restrictions [have] minor delaying
26   effect[s and] [m]assive [costs and risks], including social disruption.”).
     40
27      Available as of date of filing at
     https://www.theguardian.com/commentisfree/2020/may/15/europe-emerges-lockdown-
28   question-hangs-was-sweden-right.
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1    “involves a suspect classification, i.e. race, ancestry, and alienage, or … imping[es]
2    upon a fundamental right, i.e. privacy, marriage, voting, travel, and freedom of
3    association” triggers strict scrutiny. Hoffman v. United States, 767 F.2d 1431, 1434-35
4    (9th Cir. 1985) (citations omitted); Plyler v. Doe, 457 U.S. 202, 216 (1982) (a state’s
5    denial of free public education to undocumented children was unconstitutional).
6         61.     It is self-evident that the right to freely come and go to operate one’s
7    business is a fundamental right and that “[f]reedom of movement is kin to the right of
8    assembly and to the right of association. These rights may not be abridged.” See
9    Aptheker v. Secretary of State, 378 U.S. 500, 519-20 (1964) (Douglas, J., concurring)
10   “Once the right to travel is curtailed, all other rights suffer, just as when curfew or home
11   detention is placed on a person.” Id. The right to work and operate its business is an
12   extension of Plaintiffs’ fundamental rights to liberty and property. This triggers strict
13   scrutiny.
14        62.     There is no rational basis—much less a compelling reason—for allowing
15   Californians to flock en masse to casinos, theaters, and restaurants while preventing
16   Plaintiffs from providing identical services in a safer setting to clients who are
17   exercising their fundamental right to marry and have a cultural celebration. This
18   discriminatory treatment is resulting in a deprivation of Plaintiffs’ equal protection
19   rights.
20        63.     The State’s irrational refusal to allow wedding venues to open in lockstep
21   with restaurants, theaters, and casinos have resulted in Plaintiffs’ constitutional rights
22   being violated.
23        64.     Plaintiffs have no adequate remedy at law and will suffer serious and
24   irreparable harm to its constitutional rights unless Defendants are enjoined from
25   implementing and enforcing the State Order without a reopening guidance for wedding
26   venues.
27        65.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
28   declaratory relief and temporary, preliminary, and permanent injunctive relief
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1    invalidating and restraining enforcement of the State Order.
2         66.      Plaintiffs found it necessary to engage the services of private counsel to
3    vindicate its rights under the law. Plaintiffs are therefore entitled to an award of
4    attorneys’ fees pursuant to 42 U.S.C. § 1988.
5                                SECOND CLAIM FOR RELIEF
6        VIOLATION OF THE DUE PROCESS CLAUSES OF THE FIFTH AND
7                                FOURTEENTH AMENDMENTS
8           Rights to liberty, property, and travel as enforced by 42 U.S.C. § 1983
9                            (By All Plaintiffs against All Defendants)
10        67.      Plaintiffs incorporate herein by reference each and every allegation
11   contained in the preceding paragraphs of this Complaint as though fully set forth herein.
12        68.      Plaintiffs have a fundamental interest in conducting its lawful business.
13   Medina v. Rudman, 545 F.2d 244, 250 (1st Cir. 1976) (citing Paul v. Davis, 424 U.S.
14   693 (1976)); see also Aptheker v. Secretary of State, 378 U.S. 500, 519-20 (1964)
15   (Douglas, J., concurring); Connor v. Donaldson, 422 U.S. 563, 580 (1975) and
16   Robinson v. State of California, 370 U.S. 660, 666 (1962). Thus, strict scrutiny applies.
17        69.      The State Order and Defendants’ enforcement thereof violate Plaintiff’s
18   substantive due process rights as follows:
19              a. Plaintiffs are lawful businesses in the State of California, and therefore
20                 have a right to lawfully pursue their businesses, a substantive due process
21                 right impaired by Defendants’ actions.
22              b. Defendants lack any legitimate or compelling interest for depriving
23                 Plaintiffs of their right to lawfully pursue its business.
24              c. Even if such a legitimate, compelling interest existed, the State Order is
25                 neither rationally related nor narrowly tailored to further any such interest.
26        70.      The State Order and Defendants’ enforcement thereof violate Plaintiff’s
27   procedural due process rights as follows:
28              a. The State Order provides no process to request redress.
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1               b. Procedural due process, at a minimum, would permit Plaintiffs to
2                  meaningfully respond to the Order (or the continuations thereof) and
3                  explain how and why they are unconstitutional as applied to Plaintiff.
4                  However, the State Order has prevented Plaintiffs from challenging the
5                  application of the Order to it, denying it any process whatsoever before its
6                  rights were forcibly taken.
7               c. Further, this taking lasts indefinitely, with the State not providing for any
8                  mechanism or opportunity to review or challenge the need to continue
9                  them in the light of developing events.
10        71.      Plaintiffs have no adequate remedy at law and will suffer serious and
11   irreparable harm to their constitutional rights unless Defendants are enjoined from
12   implementing and enforcing the State Order, and/or they until promulgate guidelines for
13   wedding venues as they have done for other businesses with equal or greater COVID-
14   19 transmission risks.
15        72.      Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
16   declaratory relief and temporary, preliminary, and permanent injunctive relief
17   invalidating and restraining enforcement of the State Order.
18        73.      Plaintiffs found it necessary to engage the services of private counsel to
19   vindicate its rights under the law. Plaintiffs are therefore entitled to an award of
20   attorneys’ fees pursuant to 42 U.S.C. § 1988.
21         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment
22   against Defendants as follows:
23                 A.     An order and judgment declaring that the State Order, facially and
24         as-applied to Plaintiffs, violates the Fifth and Fourteenth Amendments to the U.S.
25         Constitution and that Plaintiffs should be allowed to conduct their business
26         following the Federal CDC guidelines for the wedding industry;
27
28
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1                  B.   An order temporarily, preliminarily, and permanently enjoining and
2          prohibiting Defendants from enforcing the State Order or otherwise interfering
3          with Plaintiff’s constitutional rights and liberties to conduct their business
4          following the Federal CDC guidelines for the wedding industry;
5
                   C.   For attorneys’ fees and costs;
6
7                  D.   Such other and further relief as the Court deems appropriate and

8          just.

9    Date: June 17, 2020                    DHILLON LAW GROUP INC.
10
                                       By: /s/ Harmeet K. Dhillon
11
                                           Harmeet K. Dhillon
12                                         Mark P. Meuser
13                                         Gregory R. Michael

14                                          GERAGOS & GERAGOS
15                                          Mark Geragos
                                            Ben J. MEISELAS
16                                          Matthew Vallejo
17
                                            Attorneys for Plaintiffs
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                       EXHIBIT 1
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                             EXECUTIVE ORDER N-66-20

       WHEREAS on March 4, 2020, I proclaimed a State of Emergency to exist in
 California as a result of the threat of COVID-19; and

       WHEREAS the COVID-19 pandemic and the physical distancing measures
 implemented to combat it have affected governmental agencies, private
 businesses, and members of the public, with associated impacts on adherence
 to certain statutory and regulatory deadlines and other requirements; and

         WHEREAS as a result of COVID-19, individuals seeking to obtain teacher
 credentials have been unable to meet certain credentialing requirements, and
 it is necessary to provide flexibility to minimize the impacts to these individuals
 and the State’s supply of qualified teachers, while maintaining high teacher-
 credentialing standards; and

        WHEREAS many Californians are experiencing substantial losses of income
 as a result of business closures, the loss of hours or wages, or layoffs related to
 COVID-19, hindering their ability to keep up with their rent, leaving them
 vulnerable to eviction, and also impacting owners reliant on rent; and

       WHEREAS on April 16, 2020, the Department of Housing and Community
 Development issued guidance on relief options available to developers and
 property owners of Department-funded developments experiencing cash flow
 shortages due to decreased rental revenue as a result of COVID-19; and

       WHEREAS certain projects and programs funded or administered through
 the Department of Housing and Community Development will continue to
 experience longer-term cash flow shortages as a result of COVID-19 and
 accordingly require continued and expanded administrative relief; and

       WHEREAS said projects and programs funded or administered by or
 through the Department of Housing and Community Development serve
 essential public purposes such as promoting and maintaining affordable housing
 for Californians and assisting Californians experiencing or at risk of homelessness;
 and

        WHEREAS the Coronavirus Aid, Relief, and Economic Stimulus (CARES) Act
 (Public Law 116-136) provides supplemental funding through the U.S.
 Department of Housing and Urban Development to the Department of Housing
 and Community Development’s Emergency Solutions Grant and Community
 Development Block Grant programs to help cover higher anticipated costs and
 support administrative expenses related to actions to prevent, prepare for and
 respond to COVID-19; and
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       WHEREAS Public Law 116-136 additionally provides Community
 Development Block Grant recipients with new flexibilities with respect to the use
 of funding to support COVID-19 response; and

       WHEREAS there remains an increased need for child care for families who
 may not have previously needed child care, or who may now require additional
 hours of child care; and

        WHEREAS in light of the COVID-19 pandemic and stay-at-home order
 (issued via Executive Order N-33-20 on March 19, 2020), there remains an
 ongoing need to promote housing security and stability, and local jurisdictions
 may need to continue to take additional measures to protect public health and
 safety; and

        WHEREAS under the provisions of Government Code section 8571, I find
 that strict compliance with various statutes and regulations specified in this
 Order would prevent, hinder, or delay appropriate actions to prevent and
 mitigate the effects of the COVID-19 pandemic.

       NOW, THEREFORE, I, GAVIN NEWSOM, Governor of the State of California,
 in accordance with the authority vested in me by the State Constitution and
 statutes of the State of California, and in particular, Government Code sections
 8567, 8571, and 8627, do hereby issue the following Order to become effective
 immediately:

       IT IS HEREBY ORDERED THAT:

       1) The requirement in Education Code sections 44225(a) and 44259(b)(3)
          and any accompanying regulations for preliminary multiple credential
          candidates and preliminary single subject credential candidates to
          complete the Teaching Performance Assessment (TPA) is suspended
          for candidates whose teacher preparation program verifies that,
          during the 2019-20 academic year, the candidate satisfies all of the
          following conditions:

             (i) Was placed or employed in a local educational agency
                 impacted by COVID-19 related school site closures;

             (ii) Was in the process of completing the TPA;

             (iii) Was unable to complete the TPA due solely to school closures;
                   and

             (iv)Successfully completed all other preliminary teaching credential
                 requirements.

          Candidates for whom the TPA requirement is suspended pursuant to
          this Paragraph 3 must complete and pass a Commission-approved
          teaching performance assessment prior to being recommended for a
          clear teaching credential.

       2) The requirement in California Code of Regulations, Title 5, section
          80054(a)(2)(A) and (B) for preliminary administrative services credential
          candidates to complete the California Administrator Performance
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          Assessment (CalAPA) is suspended for candidates whose administrator
          preparation program verifies that, during the 2019-20 academic year,
          the candidate:

             (i) Was placed or employed in a local educational agency
                 impacted by COVID-19 related school site closures;

             (ii) Was in the process of completing the CalAPA;

             (iii) Was unable to complete the CalAPA due solely to school
                   closures; and

             (iv)Successfully completed all other preliminary administrative
                 services credential requirements.

          Candidates for whom the CalAPA requirement is suspended pursuant
          to this Paragraph 4 must complete and pass a Commission-approved
          administrator performance assessment prior to being recommended
          for a clear administrative services credential.

       3) The requirements in Education Code sections 44283 and 44283.2, and
          California Code of Regulations, Title 5, sections 80048.3(a)(5), 80048.8,
          80071.5(a)(5), and 80413(a)(4) for preliminary multiple subject
          credential candidates and Level 1 or preliminary education specialist
          credential candidates to complete the Reading Instruction
          Competence Assessment (RICA) are suspended for candidates who,
          between March 19, 2020 and August 31, 2020, were or are unable to
          complete the RICA due to COVID-19 related testing center closures.
          Candidates for whom the RICA requirement is suspended pursuant to
          this Paragraph must complete and pass Commission-approved
          reading instruction competence assessment prior to being
          recommended for a clear credential.

       4) The requirement in Education Code section 44252(f)(1) and any
          accompanying regulations for credential program applicants to
          complete the California Basic Educational Skills Test (CBEST) prior to
          admission to a Commission-approved credential program is
          suspended for applicants who, between March 19, 2020 and August
          31, 2020, were or are unable to complete the CBEST due to COVID-19
          related testing center closures. Applicants for whom the CBEST
          requirement is suspended pursuant to this Paragraph must complete
          the CBEST during their program prior to recommendation for a
          preliminary credential. Any use of these applicants’ CBEST scores by
          teacher preparation programs shall be consistent with Education Code
          section 44252(f).

       5) The requirement in Education Code section 44453(a) and any
          accompanying regulations for applicants for a university intern
          credential program to complete a subject matter examination (CSET)
          prior to admission to a university intern credential program; and the
          requirement in Education Code section 44325(c)(3) and any
          accompanying regulations for applicants for a university or district
          intern credential to complete a CSET are suspended for applicants
          who, between March 19, 2020 and August 31, 2020, were or are
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          unable to complete the CSET due to COVID-19 related testing center
          closures. Applicants for whom the CSET requirement is suspended
          pursuant to this Paragraph must complete the CSET prior to being
          recommended for a preliminary credential. Additionally,
          notwithstanding the requirement in Education Code section 44326 that
          district interns teach only in the subject area for which they have met
          the subject matter requirement, district interns for whom the CSET
          requirement is suspended pursuant to this Paragraph may teach in the
          subject area for which they have enrolled.

       6) Notwithstanding California Code of Regulations, Title 25, sections
          7312(f), 8303, and 8309, the Department of Housing and Community
          Development shall implement financial and regulatory
          accommodations for projects adversely affected by the COVID-19
          pandemic, including modifications to the rules regarding project
          reserves, in order to help maintain the projects’ feasibility. Any
          standards and procedures developed to govern such financial and
          regulatory accommodations shall be exempt from the Administrative
          Procedures Act (Chapter 3.5 of Part 1 of Title 2 of the Government
          Code).

       7) The requirements specified in California Code of Regulations, Title 25,
          sections 8402, 8403(a), 8403(c), 8403(g), 8404, 8405, 8406, 8407, 8408,
          and 8410(a), governing the administration of the Emergency Solutions
          Grant Program, shall not apply to any funds allocated pursuant to
          Public Law 116-136. Within 10 days of this Order, the Department of
          Housing and Community Development shall develop and implement
          new streamlined procedures and conditions for the administration of
          such funds. The Department shall post such procedures and guidelines
          on its publicly accessible website. The development and
          implementation of such procedures and conditions shall be exempt
          from the Administrative Procedures Act (Chapter 3.5 of Part 1 of Title 2
          of the Government Code.

       8) Health and Safety Code sections 50827(a), 50828, 50833(a), and
          50833(b), requiring set-asides for economic development and housing
          in the Community Development Block Grant Program, shall not apply
          to any funding allocated pursuant to Public Law 116-136 or to funding
          for the 2019 or 2020 federal fiscal years that is used to respond to the
          COVID-19 pandemic.

       9) Paragraph 1 of Executive Order N-45-20 is withdrawn and superseded
          by the following text:

          In order to facilitate the continued provision of child care during the
          COVID-19 outbreak, any provision in Articles 1 through 11, 12, 15.5
          through 18, 20, and 21 of Chapter 2 of Part 6 of Division 1 of the
          Education Code and implementing regulations in Chapter 19 and 19.5
          of Division 1 of Title 5, California Code of Regulations, that restricts a
          child care and development program impacted by COVID-19 from
          serving children of essential critical infrastructure workers, as described
          in the document posted at
          https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf is
          suspended through June 30, 2020 (or, for families enrolled in non-
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          CalWORKS early learning and care services, for 60 days following the
          date of the child’s enrollment pursuant to Paragraphs 2 and 3 of
          Executive Order N-47-20, whichever is longer), on the condition that
          services are provided consistent with an informal directive or bulletin
          issued by the State Superintendent of Public Instruction pursuant to SB
          117 (Chapter 3, Statutes of 2020) and that costs associated with all
          services provided pursuant to the informal directive or bulletin are
          within the budget authority of the California Department of Education.

       10)Paragraph 5 of Executive Order N-45-20 is withdrawn and superseded
          by the following text:

          The requirements in Education Code section 8273 and any
          accompanying regulations or other written policies or procedures
          related to assessment of fees for families using preschool and child
          care and development services pursuant to Chapter 2 of Part 6 of
          Division 1 of the Education Code are suspended through June 30,
          2020.

       11)The timeframe set forth in Executive Order N-40-20, Paragraph 1, is
          extended for an additional 60 days from the date of this Order.

       12)The timeframe set forth in Executive Order N-40-20, Paragraph 2, is
          extended for an additional 60 days from the date of this Order.

       13)The timeframe set forth in Executive Order N-40-20, Paragraph 7, is
          extended for an additional 60 days from the date of this Order.

       14)The timeframe set forth in Executive Order N-40-20, Paragraph 9, is
          extended for an additional 60 days from the date of this Order.

       15)The timeframe set forth in Executive Order N-40-20, Paragraph 10, is
          extended for an additional 60 days from the date of this Order.

       16)The timeframe set forth in Executive Order N-40-20, Paragraph 12, is
          extended for an additional 60 days from the date of this Order.

       17)The timeframe set forth in Executive Order N-40-20, Paragraph 13, is
          extended for an additional 60 days from the date of this Order.

       18)The timeframe set forth in Executive Order N-40-20, Paragraph 15, is
          extended for an additional 30 days from the date of this Order.

       19)The timeframe set forth in Executive Order N-40-20, Paragraph 16, is
          extended for an additional 60 days from the date of this Order.

       20)The timeframe for the protections set forth in Executive Order N-28-20,
          Paragraph 1, is extended for an additional 60 days from the date of
          this Order.

       21)The timeframe for the protections set forth in Executive Order N-28-20,
          Paragraph 2 is extended for an additional 60 days from the date of this
          Order.
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         IT IS FURTHER ORDERED that, as soon as hereafter possible, this Order be
 filed in the Office of the Secretary of State and that widespread publicity and
 notice be given of this Order.

       This Order is not intended to, and does not, create any rights or benefits,
 substantive or procedural, enforceable at law or in equity, against the State of
 California, its agencies, departments, entities, officers, employees, or any other
 person.


                                       IN WITNESS WHEREOF I have hereunto set
                                       my hand and caused the Great Seal of the
                                       State of California to be affixed this 29th
                                       day of May 2020.




                                       _____________________________
                                       GAVIN NEWSOM
                                       Governor of California


                                       ATTEST:




                                       _____________________________
                                       ALEX PADILLA
                                       Secretary of State
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                        ORDER OF THE STATE PUBLIC HEALTH
                                   OFFICER
                                  May 7, 2020


 On March 19, 2020, I issued an order directing all individuals living in the State of
 California to stay at home except as needed to facilitate authorized, necessary
 activities or to maintain the continuity of operations of critical infrastructure
 sectors. (See https://covid19.ca.gov/stay-home-except-for-essential-needs/.) I
 then set out California’s path forward from this “Stay-at-Home” Order in
 California’s Pandemic Roadmap https://www.gov.ca.gov/wp-
 content/uploads/2020/05/5.4.20-Update-on-Californias-Pandemic-
 Roadmap.pdf.That Roadmap identifies four stages of the pandemic: safety and
 preparation (Stage 1), reopening of lower-risk workplaces and other spaces
 (Stage 2), reopening of higher-risk workplaces and other spaces (Stage 3), and
 finally an easing of final restrictions leading to the end of the stay at home order
 (Stage 4).
 Today, COVID-19 continues to present a significant risk to the health of
 individuals throughout California. There are confirmed cases of the virus in 54 of
 the 58 counties across the State, and each day over the past two weeks over
 one thousand new cases have been confirmed in California and dozens of
 people have lost their lives due to the virus. However, owing to Californians’
 mitigation efforts, statewide data currently demonstrates stable rates of new
 infections and hospitalizations, the maintenance of surge capacity, and an
 improved ability to test, contact trace, isolate, and provide support to
 individuals exposed to COVID-19. As State Public Health Officer, I have
 determined that the statewide data now supports the gradual movement of the
 entire state from Stage 1 to Stage 2 of California’s Pandemic Resilience
 Roadmap.
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 Gradual movement into Stage 2 is intended to reintroduce activities and sectors
 in a phased manner and with necessary modifications, in order to protect public
 health and result in a lower risk for COVID-19 transmission and outbreak in a
 community. Such deliberate phasing is critical to allowing the State to protect
 the public, and to mitigate and manage the impact of the re-openings, such
 that our health care delivery system has the capacity to respond to potential
 increased demands. Differences across the state in the prevalence of COVID-
 19, as well as testing rates, containment capability, and hospital capacity, have
 resulted in differences among local health jurisdictions’ ability to safely progress
 through the various stages. The low and stable data reported by some local
 health officers in their local health jurisdictions, combined with sufficient COVID-
 19 preparedness, justifies allowance for some variation in the speed with which
 some local health jurisdictions will be able to move through the phases of Stage
 2.
 NOW, THEREFORE, I as State Public Health Officer and Director of the
 California Department of Public Health, order:
    1. All local health jurisdictions in the state may begin gradual
       movement into Stage 2, as set forth in this Order, effective on May 8,
       2020; however, a local health jurisdiction may implement or
       continue more restrictive public health measures if the jurisdiction’s
       Local Health Officer believes conditions in that jurisdiction warrant it.

    2. I will progressively designate sectors, businesses, establishments, or
       activities that may reopen with certain modifications, based on public
       health and safety needs, and I will add additional sectors, businesses,
       establishments, or activities at a pace designed to protect public health
       and safety. Those sectors, businesses, establishments, or activities that are
       permitted to open will be designated, along with necessary modifications,
       at https://covid19.ca.gov/roadmap/, as I announce them.

    3. To the extent that such sectors are re-opened, Californians may leave
       their homes to work at, patronize, or otherwise engage with those
       businesses, establishments, or activities and must, when they do so,
       continue at all times to practice physical distancing, minimize their time
       outside of the home, and wash their hands frequently. To prevent further
       spread of COVID-19 to and within other jurisdictions within the State,
       Californians should not travel significant distances and should stay close to
       home. My March 19, 2020, Order otherwise remains in full effect.
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    4. The California Department of Public Health has set forth criteria to help
       local health officers assess the capacity of their local health jurisdictions to
       move through Stage 2. Local health jurisdictions that meet the criteria and
       follow the process set forth
       https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
       19/COVID-19-County-Variance-Attestation-Memo.aspx will be permitted
       to move through Stage 2 more quickly than the State as a whole and
       reopen additional low-risk businesses before the rest of the state, if they
       choose to do so. A list of the sectors, businesses, establishments, or
       activities, and any necessary modifications, that such a qualifying
       jurisdiction may choose to reopen will be available at
       https://covid19.ca.gov/roadmap-counties/, and may be expanded if I
       deem it to be in the interest of public health and safety.

 Pursuant to the authority under EO N-60-20, and Health and Safety
 Code sections 120125, 120140, 131080, 120130(c), 120135, 120145,
 120175 and 120150, this Order is to go into effect immediately and
 shall stay in effect until further notice.

 This Order is being issued to protect the public health of Californians
 as we move as expeditiously to minimize risk to the extent possible
 throughout the Stages of the Pandemic Resilience Roadmap.




 Sonia Y Angell, MD, MPH
 State Public Health Officer & Director
 California Department of Public Health
